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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

*************************************
William Soler Justice,              *
                                    *
               Plaintiff,           *
       v.                           *                Civil No. 1:20-cv-00517-PB
                                    *
Christopher T. Sununu, et al.,      *
                                    *
               Defendants.          *
                                    *
*************************************

       DEFENDANTS’ MOTION FOR PRELIMINARY REVIEW AND STAY OF
                   RESPONSIVE PLEADING DEADLINES

       Defendants Helen Hanks, Paula Mattis, Deborah Robinson, Carlene Ferrier, Frank

Logan, III, Joshua Deblois, Benjamyn Carver, and Page Kimball (“Defendants”), by and through

the New Hampshire Office of the Attorney General as counsel, file this Motion for Preliminary

Review and Stay of Responsive Pleading Deadlines, stating as follows:

       1.      On January 22, 2025, this Court granted Plaintiff’s Motion to Add More

Defendants to Complaint (Doc. No. 127) and ordered Plaintiff to file an amended complaint with

the additional defendants within 30 days.

       2.      On February 28, 2025, Plaintiff filed an amended complaint, which named

twenty-two defendants, several of whom were not listed in Plaintiff’s Motion to Add More

Defendants, and many of whom had previously been dismissed from the case. E.g. Order on

Report and Recommendation (Doc. No. 31); and Memorandum and Order granting [66] Motion

to Dismiss for Failure to State a Claim (Doc. No. 109). Plaintiff reasserted many of the claims

that had previously been dismissed on preliminary review, including claims alleging breach of

contract regarding a class action settlement and claims alleging violation of the Americans with
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Disabilities Act. See Order (Doc. No. 31) and Amended Report and Recommendation (Doc. No.

29).

       3.      Plaintiff is a nonincarcerated in forma pauperis party. See Doc. No. 4. The Fed. R.

Civ. P. 4(d)(2) provides that “[t]he clerk’s office shall forward to the magistrate judge for

preliminary review the initial filings, and any subsequent amendments to those filings, by all

nonincarcerated parties proceeding in forma pauperis.” After preliminary review, the magistrate

judge may recommend to the court that a filing be dismissed because, among other things, it fails

to state a claim upon which relief may be granted. See FRCP 4(d)(2)(A).

       4.      Here, Plaintiff’s amended complaint includes the same deficiencies as the first,

but the amended complaint further lacks any supporting factual allegations as to the following

defendants:

               a.   Jonathan Boisselle
               b.   CO Ryan
               c.   Daniel Potenza, MD
               d.   Wendy Martin, MD
               e.   Paula Mattis
               f.   Deborah Robinson
               g.   Helen Hanks
               h.   Carlene Ferrier, RN
               i.   Scott J. Marshall

       5.      Several of the defendants listed in Plaintiff’s amended complaint have been

dismissed from this action previously, including Dr. Potenza, Dr. Martin, Nurse Mark Gagne, the

Office of the Public Guardian, Eric Vangelder & Eric Hansmeier, and the SPU.

       6.      For these reasons, Defendants believe that preliminary review of the amended

complaint will streamline and clarify the claims and defendants moving forward.

       7.      Defendants’ responsive pleading would be due on March 14, 2025, unless the

deadline is stayed during preliminary review. Without preliminary review, it is unclear which




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defendants should be included in such a responsive pleading and which claims will survive

preliminary review.

       8.      Accordingly, Defendants respectfully request that their responsive pleading

deadline be stayed until 14 days after this Court’s order on the magistrate judge’s report and

recommendation.

       9.      Defendants have requested Plaintiff’s assent to an extension of their responsive

pleading deadline, and guardian for Plaintiff responded that Plaintiff does not assent.

       WHEREFORE, Defendants respectfully requests that this Honorable Court:

       A. Grant this Motion;

       B. Stay Defendants’ responsive pleading deadline until 14 days after this Court issues an

            order on the report and recommendation; and

       C. Grant any further relief as justice so requires.



                                              Respectfully submitted,

                                              Commissioner Helen Hanks, et al.

                                              By their attorney,

                                              JOHN M. FORMELLA
                                              ATTORNEY GENERAL

Dated: March 4, 2025                          /s/ Catherine A. Denny
                                              Catherine A. Denny, Bar #275344
                                              Assistant Attorney General
                                              Civil Bureau
                                              NH Department of Justice
                                              1 Granite Place South
                                              Concord, NH 03301
                                              catherine.a.denny@doj.nh.gov
                                              (603) 271-1354




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing is being conventionally mailed to Plaintiff at
51 Storrs St., #310, Concord, NH 03301.



Dated: March 4, 2025                          /s/ Catherine A. Denny
                                              Catherine A. Denny




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